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                               UNITED STATES BANKRUPTCY COURT
                                     Middle District of Florida
                                         Orlando Division


IN RE:                                                            Case No:      6:24-bk-02642-GER

KARLYLE C JONES


                                               Debtor /           Chapter 13




              Motion to Dismiss for Failure to Maintain Timely Plan Payments
                                         Total Due $8,600.00


                           Notice of Opportunity to Object and Request for Hearing

If you object to the relief requested in this paper you must file a response with the Clerk of Court at 400
W. Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy of the same on the Chapter
13 Trustee, Laurie K. Weatherford, Post Office Box 3450, Winter Park, Florida 32790 (and any
other appropriate persons) within the time frame allowed within 21days from the date of the attached
proof of service, plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a hearing
date or the Court will consider the response and grant or deny the relief requested in this paper without a
hearing. If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, and the Court may grant or deny the relief requested without
further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If the paper
is an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or
eliminated if you do not timely file and serve a response.



COMES NOW Laurie K. Weatherford, Chapter 13 Standing Bankruptcy Trustee for the Middle District
of Florida, Orlando Division, and shows:
    1. The Debtor filed this Chapter 13 case on 05/28/2024.
    2. Pursuant to 11 USC 1322 (a)(1) the Debtor was to file a plan which among other things provides
         for the submission of all or such portion of future earnings or other income of the Debtor to the
         supervision and control of the Trustee as is necessary for the execution of the plan.
    3. The Debtor has failed to submit the supervision and control of the Trustee funds necessary for a
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       plan to be successful in this case.
    4. That review of the Debtor's Report of Receipts and of the Debtor's individual payments for this
       case reflects the Debtor is delinquent in payments under the Chapter 13 Plan in the amount of
       $4,900.00 through December 16, 2024 and will be delinquent an additional payment of $3,700.00
       which will come due on December 28, 2024 for a delinquency in the sum of $8,600.00. Said total
       sum includes the next plan payment due under the Chapter 13 Plan which will become due and
       payable within the time frame allowed by the court for the Debtor to become current in the plan
       payments. A copy of the Plan Payment Schedule and Trustee’s Report of Receipts is attached
       hereto as Exhibit “A”.


      WHEREFORE, the Trustee moves this honorable Court for an order dismissing this case unless
   the Debtor pay(s) the entire arrearage as listed above the Chapter 13 Trustee on or before January
   06, 2025 by mailing said sum to the payment address at Post Office Box 1103, Memphis, TN
   38101-1103, and granting such relief as the court may deem appropriate.




                                             Certificate of Service
    I HEREBY CERTIFY, that a true and correct copy of the foregoing was served upon the parties
listed below by first-class U.S. Mail, postage prepaid or by Electronic Notification through the Court’s
ECF System at the e-mail address registered with the Court, on this 16th day of December, 2024.

Debtor - Karlyle C Jones, 15038 Guava Bay Dr, Winter Garden, FL 34787
Attorney - Matthew R Gross, Fresh-Start Law, 498 Palm Springs Dr, Ste 100, Altamonte Springs, FL
32701


                                                                  BY: /S/ LAURIE K. WEATHERFORD
                                                                  Chapter 13 Trustee
                                                                  Stuart Ferderer
                                                                  FBN 0746967
                                                                  Ana DeVilliers
                                                                  FBN 0123201

                                                                  PO Box 3450
                                                                  Winter Park, FL 32790
                                                                  Telephone: 407-648-8841
                                                                  Facsimile: 407-648-2665
                                                                  info@c13orl.com
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                                 Exhibit "A"
                              Plan Payment Schedule

Period    Date (Month/Year)    Payment Due      Payment Received       Amount Due
   1                06/2024       $3,700.00               $0.00         $3,700.00
   2                07/2024       $3,700.00           $3,700.00         $3,700.00
   3                08/2024       $3,700.00           $2,000.00         $5,400.00
   4                09/2024       $3,700.00           $3,700.00         $5,400.00
   5                10/2024       $3,700.00           $3,300.00         $5,800.00
   6                11/2024       $3,700.00           $2,700.00         $6,800.00
   7                12/2024       $3,700.00           $1,900.00         $8,600.00



                                Report of Receipts

 Receipt Date     Source         Amount Receipt Date        Source         Amount
 07/01/2024                    $3,700.00
 08/26/2024                    $2,000.00
 09/05/2024                    $3,700.00
 10/07/2024                    $2,000.00
 10/21/2024                    $1,300.00
 11/12/2024                      $800.00
 11/18/2024                    $1,900.00
 12/02/2024                    $1,900.00
